Dear Councilman Lemoine:
You requested an opinion from this office regarding whether, as a newly elected city councilman, you can continue to serve as a commissioner for the Ville Platte Housing Authority. Your request has been assigned to the undersigned for response.
The subjects of dual officeholding and dual employment of public officers and employees are treated generally at La. R.S.42:61, et seq. Of particular pertinence to your request is La. R.S. 42:63(D), which provides:
  No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court.
Local housing authorities are political subdivisions of the state, independent from the municipalities or parishes which establish them. La. R.S. 40:384(16). The commissioners of local housing authorities are appointed officials. La. R.S. 40:531. If the position of commissioner is only a part-time appointive office, an elected city councilman could hold the appointive office of commissioner of a local housing authority, without violating the prohibitions in La. R.S. 40:63(D). "Part time" is the period of time which a person normally works or is expected to work in an appointive office or employment which is less than seven hours per work day and less than thirty-five hours per week of work. La. R.S. 42:62(5). We have been advised by the City Clerk of Ville Platte that the position of commissioner of the Ville Platte Housing Authority is a part time position.
Although it is our opinion that you may hold the part time appointive office of commissioner of the Ville Platte Housing Authority at the same time that you hold the elected office of city councilman for the City of Ville Platte, you must be cautious regarding actual or potential conflicts of interest. We have been advised by the City Clerk that the municipality contracts with the housing authority. You, at the least, would have to recuse yourself from participating whenever either entity takes any action dealing with the other. That is really an ethical matter and you may wish to seek an opinion from the state Board of Ethics.
We trust this opinion satisfies your query. Should you have further questions, please do not hesitate to contact us.
Very truly yours,
                                 RICHARD P. IEYOUB ATTORNEY GENERAL
                                 BY: ____________________________ RANDALL A. KARR ASSISTANT ATTORNEY GENERAL
Date Received: Date Released:
Randall A. Karr Assistant Attorney General